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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )           CR. NO. 13-00860 LEK
                               )
           Plaintiff,          )
                               )
      vs.                      )
                               )
 JAMES MOSER (07) and          )
 WILLIAM SHINYAMA (15),        )
                               )
           Defendants.         )
 _____________________________ )


              ORDER DENYING DEFENDANT WILLIAM SHINYAMA’S AND
           DEFENDANT JAMES MOSER’S MOTIONS FOR RECONSIDERATION

              Before the Court are: Defendant William Shinyama’s

 (“Shinyama”) Motion for Reconsideration of the Order Granting

 Government’s Motion to Detain Defendant Without Bail (“Shinyama’s

 Motion”); and Defendant James Moser’s (“Moser”) Motion for

 Reconsideration of Detention (“Moser’s Motion”, collectively “the

 Motions”),1 both filed on April 21, 2014.          [Dkt. nos. 264, 269.]

 On April 28, 2014, Plaintiff the United States of America (“the

 Government”) filed a memorandum in opposition to each of the

 Motions.     [Dkt. nos. 280, 281.]     Later that day, Shinyama filed

 his reply.     [Dkt. no. 282.]

              These matters came on for an evidentiary hearing on

 April 30, 2014.     At the hearing, this Court granted the

 Government leave to file supplemental briefs.            The Government

 filed a supplemental memorandum in opposition to each of the

       1
           Moser’s Motion includes a joinder in Shinyama’s Motion.
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 Motions on May 6, 2014.      [Dkt. nos. 297, 298.]        After careful

 consideration of the Motions, supporting and opposing memoranda,

 and the arguments of counsel, Moser’s Motion and Shinyama’s

 Motion are HEREBY DENIED for the reasons set forth below.

                                 BACKGROUND

             On September 12, 2013, the grand jury issued an eleven-

 count Indictment against eighteen defendants, including Moser and

 Shinyama.    Count Two of the Indictment charges Moser with violent

 crimes in aid of racketeering, in violation of 18 U.S.C.

 § 1959(a)(3), (b)(1) and 18 U.S.C. § 1961(1).            It alleges that,

 on or about July 9, 2009, Moser assaulted D.G. “for the purpose

 of gaining entrance to, and maintaining and increasing position

 within [the prison gang known as] the ‘USO Family.’”             [Indictment

 at 9-10.]    Count Four charges Shinyama, and others, with violent

 crimes in aid of racketeering.         It alleges that, on or about

 February 17, 2013, they assaulted B.L. “for the purpose of

 gaining entrance to, and maintaining and increasing position

 within the USO Family.”      [Id. at 11-13.]      At the time of the

 respective assaults, Moser, D.G., Shinyama, and B.L. were

 incarcerated at the State of Hawaii’s (“the State”) Halawa

 Correctional Facility (“Halawa”).

             Shinyama appeared for his arraignment on September 24,

 2013 and entered a plea of not guilty to the Indictment.              The

 magistrate judge ordered him detained, and he submitted to


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 detention.    [Minutes, filed 9/24/13 (dkt. no. 52).]

              Also on September 24, 2013, the Government filed its

 Motion to Detain Defendants Without Bail (“Detention Motion”),

 seeking to detain sixteen of the defendants, including Moser and

 Shinyama, pursuant to 18 U.S.C. § 3142.           [Dkt. no. 53.]      The

 Detention Motion was terminated as to Shinyama because he

 submitted to detention.       According to the Government, Shinyama

 arrived at the Federal Detention Center in Honolulu (“FDC”) on

 September 24, 2014 “as a United States Marshals Service (USMS)

 pretrial inmate who was borrowed via a writ of habeas corpus ad

 prosequendum from the State of Hawaii with whom he was serving a

 sentence of imprisonment.”        [Mem. in Opp. to Shinyama’s Motion at

 3.]   He has been housed at FDC in the Special Housing Unit

 (“SHU”) as an administrative detainee since that time.               [Id.]

              Moser’s arraignment was on October 15, 2013, and he

 entered a plea of not guilty to the Indictment.             [Minutes, filed

 10/15/13 (dkt. no. 128).]       At Moser’s October 18, 2013 detention

 hearing, the magistrate judge granted the Detention Motion.

 [Minutes, filed 10/18/13 (dkt. no. 141).]            The magistrate judge

 found that Moser was both a flight risk and a danger to the

 community.    [Detention Order Pending Trial, filed 10/22/13 (dkt.

 no. 149), at 2.]        According to the Government, Moser arrived at

 FDC on October 15, 2013 and has been housed in the SHU in

 administrative detention since that time.            He was also borrowed


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 from the State pursuant to a writ of habeas corpus ad

 prosequendum.    [Mem. in Opp. to Moser’s Motion at 3.]

             At a hearing on April 4, 2014, this Court accepted

 Shinyama’s plea of guilty to Count Four and scheduled his

 sentencing hearing for July 31, 2014.          [Minutes, filed 4/4/14

 (dkt. no. 251).]        Shinyama’s Motion asks this Court to reconsider

 the magistrate’s detention order and to grant him bail so that he

 can serve the remaining time prior to his sentencing hearing at

 Halawa.   He argues that he would not be a flight risk or a danger

 to the community if he is released to Halawa.             In addition,

 Shinyama argues that: because he is being held in the SHU, “he

 has been deliberately deprived of many privileges and forced to

 live under inhumane and intolerable conditions[;]” and FDC

 officials have retaliated against him for filing a grievance

 regarding “the cruel and insufferable conditions.”              [Shinyama’s

 Motion at 2-3.]     According to Shinyama, the inhuman and

 intolerable conditions include, inter alia: maggots in inmates’

 food; insufficient access to clean clothes; insufficient access

 to warm clothes and/or blankets; insufficient recreation time;

 insufficient access to hygiene items and personal food and drink

 items; and insufficient contact visits with family members.                He

 contends that many of these conditions would be resolved if he

 were transferred out of the SHU and into the general FDC

 population.    [Id. at 4.]      He also states that he has been


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 subjected to the following forms of retaliation: pretextual

 disciplinary “write ups” after he made complaints about the

 intolerable conditions in the SHU; having his radio taken away

 and his phone privileges restricted; pretexual cell searches; and

 taunting, insults, and indifference from FDC staff in response to

 his complaints about the intolerable conditions.            [Id. at 3-5.]

 Shinyama asserts that “he has been treated like an ‘animal’ at

 the FDC SHU.”    [Id. at 5.]

             Moser’s Motion argues that this Court should release

 him to the State’s custody while this case is pending.2             He also

 argues that, because he is currently serving a State prison term,

 he would be neither a flight risk nor a danger to the community.

 Moser joins in the other arguments in Shinyama’s Motion, to the

 extent that “said motion is applicable to him.”            [Moser’s Motion

 at 2.]

             At the April 30, 2014 evidentiary hearing, this Court

 heard testimony by Shinyama and Defendant Tineimalo Adkins

 (“Adkins”).3    Adkins testified that one of the other co-


       2
        On August 13, 2014, this Court accepted Moser’s plea of
 guilty to Count Four and scheduled his sentencing hearing for
 December 11, 2014. [Minutes, filed 8/13/14 (dkt. no. 462).]
       3
        On April 23, 2014, Adkins filed his motion for
 reconsideration of his detention order, with a joinder in
 Shinyama’s Motion. [Dkt. no. 274.] This Court heard argument
 regarding Adkins’s motion at the evidentiary hearing. This Court
 denied Adkins’s detention appeal on May 14, 2014. [Dkt. no. 311
 (Minutes).]
                                                    (continued...)

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 defendants in this case (who Adkins did not identify by name)

 obtained a copy of the policies applicable to inmates in the SHU.

 The co-defendant confronted FDC Lieutenant Kline about why they

 were not being provided with the number of clothing items

 specified in the policy.      According to Adkins, Lieutenant Kline

 responded in a verbally aggressive manner, and FDC staff later

 conducted a “shake down” of the cells of the co-defendants in

 this case.      [4/30/14 Hrg. Trans. at 10.]      He stated that, when

 the co-defendants went to their monthly hearings to review their

 SHU assignments, they were taken together and all of their cells

 were “shaken down” while they were gone.          Adkins asserted that

 this was to dissuade them from going to the hearings.             [Id. at

 20.]       He also claimed that the FDC staff was not responding to

 their inmate grievances and other requests, and that the staff

 was not allowing them to make phone calls to their attorneys.

 [Id. at 11, 18-19.]       Adkins stated he has been denied: access to

 the law library; the opportunity to practice his religion; and

 necessary medical treatment.       He did not specify whether his co-

 defendants were also experiencing those denials.            [Id. at 13-14,

 24.]




        3
       (...continued)
      Moser was physically unable to testify at the evidentiary
 hearing because of a recent accident in which he fractured his
 jaw. [Trans. of 4/30/14 Evidentiary Hrg. (“4/30/14 Hrg.
 Trans.”), filed 5/21/14 (dkt. no. 318), at 6.]

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                In addition to the conditions described in his motion,

 Shinyama testified that: the FDC staff was interfering with his

 receipt of books that he ordered through the mail; and the staff

 denied him access to a computer, which he needed to review

 discovery that his counsel sent to him on CDs.              Once he did have

 access to a computer, he still could not review the discovery

 because he did not know how to open the files, and the FDC staff

 did not assist him.        [Id. at 70-73.]     He testified that he is

 “frustrated” and “disgusted” with “the situation that [he] and

 [his] codefendants [have been] going through for the last seven

 months.”      [Id. at 79.]    According to Shinyama, when he was in

 segregation at Halawa it was “a lot better” than being in the FDC

 SHU.       [Id. at 80.]

                The Government’s supplemental memoranda addressed the

 issues which arose during the testimony at the evidentiary

 hearing but which the parties had not addressed in the documents

 filed prior to the hearing.

                                    STANDARD

                Although neither Moser’s Motion nor Shinyama’s Motion

 cites 18 U.S.C. § 3145(b),4 each appears to invoke that statute

 to seek review of his respective detention order by the



        4
        Section 3145(b) states, in pertinent part: “If a person is
 ordered detained by a magistrate judge, . . . the person may
 file, with the court having original jurisdiction over the
 offense, a motion for revocation or amendment of the order.”

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 magistrate judge.

             A district judge must review a magistrate judge’s

 pretrial detention order de novo.          United States v. Koenig, 912

 F.2d 1190, 1191 (9th Cir. 1990).           However, the district judge “is

 not required to start over in every case, and proceed as if the

 magistrate’s decision and findings did not exist.”             Id. at 1193.

 “The standard of review for pretrial detention orders is one of

 deference to the [magistrate judge’s] factual findings, absent a

 showing that they are clearly erroneous, coupled with an

 independent review of the facts, the findings, and the record to

 determine whether the order may be upheld.”             United States v.

 Gebro, 948 F.2d 1118, 1121 (9th Cir. 1991) (citation omitted).

 The district judge must ultimately make its own de novo

 determination of the facts and of the propriety of detention.

 Koenig, 912 F.2d at 1193.

                                 DISCUSSION

 I.    Moser’s Pretrial Detention

                  The Bail Reform Act governs the detention of
             a defendant pending trial. 18 U.S.C. § 3142
             (2006). The Act mandates the release of a person
             pending trial unless the court “finds that no
             condition or combination of conditions will
             reasonably assure the appearance of the person as
             required and the safety of any other person and
             the community.” 18 U.S.C. § 3142(e). . . . A
             finding that a defendant is a danger to any other
             person or the community must be supported by
             “clear and convincing evidence.” 18 U.S.C.
             § 3142(f)(2)(B).

 United States v. Hir, 517 F.3d 1081, 1085-86 (9th Cir. 2008)

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 (footnote omitted).      A finding that the defendant is a flight

 risk must be supported by “a clear preponderance of the

 evidence.”      United States v. Townsend, 897 F.2d 989, 994 (9th

 Cir. 1990).

                The same standards apply in this Court’s de novo review

 of the magistrate judge’s detention order.              This Court cannot

 find, by a preponderance of the evidence, that Moser is a flight

 risk.       Moser would be released to Halawa, and there is no

 evidence in the record that he may escape.              Further, there is no

 reason to believe that the State would refuse to return him to

 this district court for trial or for other proceedings in this

 case.5      This Court therefore focuses on the question of whether

 there is a release condition, or combination of release

 conditions, that would reasonably assure the safety of any other

 person and the community.

                In determining whether conditions of release will

 reasonably assure the safety of any other person and the

 community, a district court must consider the following

 information:

                (1) the nature and circumstances of the offense
                charged, including whether the offense is a crime
                of violence, a violation of section 1591, a
                Federal crime of terrorism, or involves a minor


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        As previously noted, Moser changed his plea after the
 filing of his motion. This Court reviews Moser’s Motion under
 the pretrial detention standards because he was seeking pretrial
 release when he filed the motion.

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             victim or a controlled substance, firearm,
             explosive, or destructive device;

             (2) the weight of the evidence against the person;

             (3) the history and characteristics of the person,
             including -

                   (A) the person’s character, physical and
                   mental condition, family ties, employment,
                   financial resources, length of residence in
                   the community, community ties, past conduct,
                   history relating to drug or alcohol abuse,
                   criminal history, and record concerning
                   appearance at court proceedings; and

                   (B) whether, at the time of the current
                   offense or arrest, the person was on
                   probation, on parole, or on other release
                   pending trial, sentencing, appeal, or
                   completion of sentence for an offense under
                   Federal, State, or local law; and

             (4) the nature and seriousness of the danger to
             any person or the community that would be posed by
             the person’s release. . . .

 § 3142(g)(1)-(4).

             Having carefully considered these factors, this Court

 finds that they clearly weigh against Moser’s release.              Moser is

 charged with a violent offense, and the case against him is

 strong.    D.G. and another witness identified Moser as the

 assailant, and Moser told federal agents that he joined the USO

 gang when he returned to the general population from Halawa’s SHU

 after the assault.      Moser also has a significant criminal

 history, and was serving a state term of imprisonment when he

 allegedly committed the charged offense.           See Mem. in Opp. to

 Moser’s Motion at 5-6.       Moser asks this Court to return him to

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 the community where he allegedly committed the offense, and where

 he would likely have the opportunity to resume his involvement in

 the USO gang.     Under these circumstances, this Court must find

 that there is no condition or combination of conditions that

 would reasonably assure the safety of any other person and the

 community.

              To the extent Moser’s Motion asks this Court to

 reconsider the magistrate judge’s detention order, the motion is

 DENIED.

 II.   Shinyama’s Detention Pending Sentencing

              At the time Shinyama filed his motion, he had already

 pled guilty to Count Four.       The Government represents that Count

 Four is “a crime of violence that has a maximum sentence of more

 than 10 years,” as described in 18 U.S.C. § 3142(f)(1)(A).6

       6
           Section 3142(f) states, in pertinent part:

              The judicial officer shall hold a hearing to
              determine whether any condition or combination of
              conditions set forth in subsection (c) of this
              section will reasonably assure the appearance of
              such person as required and the safety of any
              other person and the community -

                   (1) upon motion of the attorney for the
                   Government, in a case that involves -

                         (A) a crime of violence, a violation of
                         section 1591, or an offense listed in
                         section 2332b(g)(5)(B) for which a
                         maximum term of imprisonment of 10 years
                         or more is prescribed[.]

                                                               (continued...)

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 [Mem. in Opp. to Shinyama’s Motion at 4.]           Shinyama has not

 disputed this.     Accord Judgment in a Criminal Case, filed 8/4/14

 (dkt. no. 435), at 2 (sentencing Shinyama to 163 months of

 imprisonment).

             18 U.S.C. § 3143(a)(2) states:

             The judicial officer shall order that a person who
             has been found guilty of an offense in a case
             described in subparagraph (A), (B), or (C) of
             subsection (f)(1) of section 3142 and is awaiting
             imposition or execution of sentence be detained
             unless -

             (A)(i) the judicial officer finds there is a
             substantial likelihood that a motion for acquittal
             or new trial will be granted; or

                   (ii) an attorney for the Government has
                   recommended that no sentence of imprisonment
                   be imposed on the person; and

             (B) the judicial officer finds by clear and
             convincing evidence that the person is not likely
             to flee or pose a danger to any other person or
             the community.

 (Emphases added.)

             In light of Shinyama’s guilty plea, he cannot establish

 a substantial likelihood that this Court will grant a motion for

 acquittal or a motion for a new trial.          Further, at the time

 Shinyama filed his motion, it was clear that the Government was

 going to recommend a sentence of imprisonment.             Under

 § 3143(a)(2), Shinyama must establish one of the circumstances



       6
       (...continued)
 (Emphases added.)

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 described in subsection (A) and the subsection (B) requirements

 that he is not a flight risk or a danger to another person or the

 community.    In light of Shinyama’s inability to establish any of

 the subsection (A) circumstances, this Court finds that Shinyama

 has not overcome the § 3143(a)(2) presumption that he should be

 detained pending sentencing.

              Although Shinyama is subject to detention pursuant to

 § 3143(a)(2), this Court must also determine whether Shinyama’s

 release would be appropriate under 18 U.S.C. § 3145(c), which

 states:

              An appeal from a release or detention order, or
              from a decision denying revocation or amendment of
              such an order, is governed by the provisions of
              section 1291 of title 28 and section 3731 of this
              title. The appeal shall be determined promptly.
              A person subject to detention pursuant to section
              3143(a)(2) or (b)(2), and who meets the conditions
              of release set forth in section 3143(a)(1) or
              (b)(1), may be ordered released, under appropriate
              conditions, by the judicial officer, if it is
              clearly shown that there are exceptional reasons
              why such person’s detention would not be
              appropriate.

 The conditions of release set forth in § 3143(a)(1) are: “the

 judicial officer finds by clear and convincing evidence that the

 person is not likely to flee or pose a danger to the safety of

 any other person or the community if released[;]” and the person

 is released “in accordance with section 3142(b) or (c).”7


       7
        Section 3142(b) governs “Release on personal recognizance
 or unsecured appearance bond,” and § 3142(c) governs “Release on
                                                    (continued...)

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             In reviewing Shinyama’s Motion, this Court is primarily

 concerned with the question of whether he would be a danger to

 any person or the community if released to Halawa.               This Court,

 however, also notes that there is some evidence which suggests

 that he may be a flight risk.           At the evidentiary hearing,

 Shinyama admitted that he tried to escape three times when he was

 held in a Maui jail during the 1990s, and he has been convicted

 twice of felony escape.        [4/30/14 Hrg. Trans. at 74, 82.]

 Shinyama testified that he never tried to escape when he was held

 at Halawa, which he asserted “is escape-proof.”               [Id. at 74.]     In

 light of this Court’s finding regarding dangerousness, it is not

 necessary for this Court to make a finding on the issue of

 whether Shinyama is a flight risk, and this Court declines to do

 so at this time.

             Like Moser, Shinyama asks this Court to return him to

 the community in Halawa where Shinyama committed the offense,

 which he pled guilty to, and where he will likely have the

 opportunity to resume his involvement in the USO gang.                In

 addition, as noted by the Government at the evidentiary hearing,

 Shinyama has admitted that he had some amount of control in the

 gang as a “shot caller.”        For example, he would order people to

 commit assaults.        Shinyama also admitted that USO members bribed



       7
       (...continued)
 conditions.”

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 prison guards.     [4/30/14 Hrg. Trans. at 100.]         Under these

 circumstances, this Court must find that there is no condition or

 combination of conditions that would reasonably assure the safety

 of any other person and the community if this Court released

 Shinyama to Halawa.

             Insofar as Shinyama does not meet the conditions of

 release set forth in § 3143(a)(1), this Court does not reach the

 issue of whether “there are exceptional reasons why [Shinyama’s]

 detention [is] not . . . appropriate.”          See § 3145(c).      This

 Court therefore concludes that Shinyama is not entitled to relief

 under § 3145 from the magistrate judge’s detention order.

             To the extent Shinyama’s Motion asks this Court to

 reconsider the magistrate judge’s detention order, the motion is

 DENIED.

 III. Request for Transfer

             Moser and Shinyama each argues that, if this Court

 declines to release him to Halawa, it should order FDC to

 transfer him from the SHU to the general population.

             The Government concedes that Moser and Shinyama’s

 placement in the SHU is not to reprimand them for misbehavior or

 because of dangerousness.       They have been placed in the SHU

 merely because of the number of defendants that the Government

 indicted in this case, many of whom were placed at FDC subject to

 a “made separate” order.       As a result, by the time of the


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 evidentiary hearing, Moser had been held in the SHU for six-and-

 a-half months, and Shinyama had been held in the SHU for a little

 over seven months.      FDC’s SHU program was not intended to include

 such extended periods of confinement.          Moreover, this Court

 recognizes that the treatment which Moser and Shinyama have

 received as a result of being in the SHU for such an extended

 period of time borders on the unconscionable.

             Unfortunately, in spite of these extraordinary

 circumstances, this Court must recognize the Bureau of Prisons’

 (“BOP”) discretion in its evaluation and placement of prisoners.

 As recently stated by the District Court for the Eastern District

 of California:

             Title 18 U.S.C § 3621(b) gives the BOP authority
             to “designate the place of the prisoner’s
             imprisonment” and the discretion to “direct the
             transfer of a prisoner from one penal or
             correctional facility to another.” Title 18
             U.S.C. § 3625 prohibits judicial review of “any
             determination, decision, or order” that the BOP
             makes under 18 U.S.C. § 3621. See also Tapia v.
             United States, ––– U.S. ––––, 131 S. Ct. 2382,
             2391–92, 180 L. Ed. 2d 357 (2011). “Although
             judicial review remains available for allegations
             that BOP action is contrary to established federal
             law, violates the United States Constitution, or
             exceeds its statutory authority,” review of the
             BOP’s discretionary decisions regarding an
             individual inmate’s place of incarceration falls
             outside federal courts’ subject matter
             jurisdiction. Reeb v. Thomas, 636 F.3d 1224,
             1227–29 (9th Cir. 2011). “The Constitution does
             not . . . guarantee that the convicted prisoner
             will be placed in any particular prison[.]”
             Meachum v. Fano, 427 U.S. 215, 224, 96 S. Ct.
             2532, 49 L. Ed. 2d 451 (1976). Thus “[a]n inmate
             has no constitutional right to be transferred from

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              one facility to another, to avoid such a transfer,
              to rehabilitation or to unfettered visitation.”
              Reed v. U.S. Bureau of Prisons, No. CV 11–4405
              GAF(JC), 2011 WL 5834745 at *4 n.4 (C.D. Cal.
              Oct. 21, 2011) (citations omitted).

 Sharma v. Johnson, No. 2:13–cv–2398 DAD P, 2014 WL 2769139, at *4

 (E.D. Cal. June 18, 2014) (brackets and ellipse in Sharma)

 (emphasis added) (footnote omitted).

              For the same reasons, this Court does not have

 jurisdiction to order FDC to transfer Moser and Shinyama out of

 the SHU and into the general population.           This Court must DENY

 their requests.

              This Court, however, will continue to encourage and

 even pester the authorities at FDC, as well as the Government’s

 attorneys, to reevaluate Moser, Shinyama, and their co-defendants

 for placement in the general population, if they continue to be

 subjected to harshly punitive conditions due to prolonged

 assignment to the SHU solely on the basis of administrative

 detention.

                                  CONCLUSION

              On the basis of the foregoing, Shinyama’s Motion for

 Reconsideration of the Order Granting Government’s Motion to

 Detain Defendant Without Bail and Moser’s Motion for

 Reconsideration of Detention, are HEREBY DENIED.

              IT IS SO ORDERED.




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             DATED AT HONOLULU, HAWAII, October 30, 2014.


                                     /s/ Leslie E. Kobayashi
                                    Leslie E. Kobayashi
                                    United States District Judge




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